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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER; BRYAN AND                   :
CHRISY REHM; DEBORAH FENIMORE                 :
AND JOEL LIEBY; STEVEN STOUGH                 :
BETH EVELAND; CYNTHIA SNEATH                  : CIVIL ACTION NO. 04-CV-2688
JULIE SMITH; AND ARALENE                      :
(“BARRIE”) D. AND FREDERICK B.                :
CALLAHAN,                                     :
                    Plaintiffs                :
                                              :
                   v.                         :
                                              :
DOVER AREA SCHOOL DISTRICT;                   :
DOVER AREA SCHOOL DISTRICT                    : J. JOHN E. JONES III
BOARD OF SCHOOL DIRECTORS,                    :
                 Defendants                   :

                          CERTIFICATE OF SERVICE

      AND NOW, this 7th day of February, 2006, I, Stephen S. Russell, Esquire, of

the law firm of Stock and Leader, attorneys for Defendants, hereby certify that I

served the Praecipe for Entry of Appearance on the following persons listed below

via electronic filing unless otherwise indicated:

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                                (via U.S. first class mail)

                                                       Respectfully submitted,

                                                       STOCK AND LEADER,

                                                By: /s/ Stephen S. Russell
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